     2:18-cv-03326-RMG        Date Filed 02/25/19      Entry Number 133        Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

SOUTH CAROLINA COASTAL              ) Civil Action Number: 2:18-cv-03326-RMG
CONSERVATION LEAGUE; CENTER FOR     )
BIOLOGICAL DIVERSITY; DEFENDERS     ) (Consolidated with No. 2:18-cv-03327-RMG)
OF WILDLIFE; NATURAL RESOURCES      )
DEFENSE COUNCIL, INC.; NORTH        )
CAROLINA COASTAL FEDERATION;        )
OCEANA; ONE HUNDRED MILES;          )
SIERRA CLUB; and SURFRIDER,         )
FOUNDATION,                         )
                                    )
                  Plaintiffs,       )
     v.                             )
                                    )
WILBUR ROSS, IN HIS OFFICIAL        )
CAPACITY AS THE SECRETARY OF        )
COMMERCE; NATIONAL MARINE           )
FISHERIES SERVICE; and CHRIS        )
OLIVER, IN HIS OFFICIAL CAPACITY AS )
THE ASSISTANT ADMINISTRATOR FOR )
FISHERIES,                          )
                                    )
                  Defendants.       )

       NOTICE OF ACCEPTANCE OF SERVICE AND RESPONSE TO MOTION

       The United States Attorney’s Office accepts service of the Complaint filed by the State of

South Carolina effective February 21, 2019, the date the Complaint was filed, and will answer in

accord with Rule 12 of the Federal Rules of Civil Procedure.

                                                    Yours very truly,

                                                    SHERRI A. LYDON
                                                    UNITED STATES ATTORNEY

                                            By:     s/ Beth Drake
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